Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12     Filed 05/05/25      Page 1 of 37




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      5
                                           UNITED STATES DISTRICT COURT
      6                                   WESTERN DISTRICT OF WASHINGTON
      7                                             AT SEATTLE

      8       MARTIN LUTHER KING, JR.
              COUNTY, et al.,                                      No. 2:25-cv-00814-BJR
      9
                                                Plaintiffs,        DECLARATION OF COUNTY OF
     10               v.                                           SANTA CLARA ACTING
     11                                                            DIRECTOR FOR SUPPORTIVE
              SCOTT TURNER, in his official capacity               HOUSING KATHRYN J. KAMINSKI
     12       as Secretary of the U.S. Department of               IN SUPPORT OF MOTION FOR
              Housing and Urban Development, et al.,               TEMPORARY RESTRAINING
     13                                                            ORDER
                                                 Defendants.
     14

     15
                     I, KATHRYN J. KAMINSKI, declare as follows:
     16
                     1.      I make this declaration in support of Plaintiffs’ motion for a Temporary
     17
            Restraining Order. I am a resident of the State of California. I have personal knowledge of all
     18

     19     facts stated in this declaration, and if called to do so, I could and would testify to them

     20     competently under oath.
     21              2.      I am the Acting Director for the County of Santa Clara Office of Supportive
     22
            Housing (OSH or the “Department”), a position I have held from July 2024 to present. Prior to
     23
            this position, I served as a Deputy Director for OSH for four years, overseeing OSH’s contracts
     24
            and grants team, fiscal team, Continuum of Care (CoC) team, and the supportive housing system,
     25
     26     which encompasses services including emergency shelter, short-term financial assistance to

     27     quickly prevent or lift households out of homelessness, interim and transitional housing, and
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 1
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12     Filed 05/05/25      Page 2 of 37




      1     permanent supportive housing. Prior to serving as Deputy Director, I served as the CoC Quality
      2     Improvement Manager for approximately three years, overseeing the county-wide CoC efforts
      3
            including policy development and implementation, system performance measurement, and
      4
            federal grant compliance. Prior to becoming employed with the County of Santa Clara, I worked
      5
            for the City of San José Housing Department from January 2015 to September 2017 as a
      6

      7     Development Officer, where I managed HUD grants such as the Community Development Block

      8     Grant, Emergency Solutions Grant, and Housing Opportunities for People with AIDS programs,

      9     including compliance with federal regulations, budgeting, reporting, contract development,
     10     subrecipient management and monitoring, and program evaluation. Prior to employment with
     11
            the City of San José, I was employed as a Senior Associate at TDA, Inc., a national consulting
     12
            firm, from September 2011 to December 2014, where I provided training and technical
     13
            assistance to grantees receiving federal funding from HUD.
     14

     15              3.      In my role as Acting Director of OSH, I oversee the department budget, the

     16     administration of all grants and contracts, delivery of services, and management of the County’s

     17     affordable housing loan portfolio.
     18
                     4.      OSH’s mission is to increase the supply of housing and supportive housing that is
     19
            affordable and available to extremely low-income and/or special needs households. OSH
     20
            supports the County of Santa Clara’s mission of promoting a healthy, safe, and prosperous
     21
            community by ending and preventing homelessness. The Department’s mission and work is
     22

     23     informed by the County’s commitment to advancing equity in government, which means moving

     24     the county towards one where everyone can participate, prosper, and reach their full potential,
     25     regardless of race, gender, nation of origin, sexual orientation, ability, or any other historically
     26
            marginalized identity.
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 2
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12   Filed 05/05/25     Page 3 of 37




      1              5.      Since the late 1980s, government agencies and community-based organizations in
      2     Santa Clara County have partnered to address the needs of homeless individuals and families. In
      3
            1992, these organizations formed the Santa Clara County Collaborative on Affordable Housing
      4
            and Homeless Issues (the “Collaborative”), an unincorporated association. In addition to
      5
            improving coordination and services, the Collaborative was formed to meet the 1995 HUD
      6

      7     requirement that all communities submit a collective application for HUD CoC funds.

      8              6.      From 1992 to 2013, the Steering Committee of the Collaborative served as the

      9     governing board for administration of CoC program funds and as the primary entity for planning
     10     and coordinating homeless services.
     11
                     7.      In 2013, regional local governments, non-profit housing leaders, and other
     12
            stakeholders came together to reorganize the structure of the Santa Clara County CoC (the
     13
            “Santa Clara County Continuum”) to improve regional coordination of federal, state, and local
     14

     15     resources towards reducing homelessness in the county. Through this process, the County of

     16     Santa Clara was designated as the Collaborative Applicant on behalf of the Santa Clara County

     17     Continuum. OSH currently serves as the Collaborative Applicant for the County. The role of
     18
            the Collaborative Applicant is to submit the annual application to HUD for CoC Program funds
     19
            on behalf of all grantees in the Continuum’s geographic area, and to administer the CoC to
     20
            ensure that the operation of the Continuum and use of grant funds meet HUD’s requirements.
     21
            The Continuum’s collaborative application includes project applications from the County of
     22

     23     Santa Clara, as well as on behalf of non-profit organizations that receive their CoC grant funds

     24     directly from HUD.
     25              8.      OSH depends heavily on the CoC grant program to fund critical housing subsidies
     26
            and services to support individuals and families experiencing chronic homelessness. The
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 3
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12   Filed 05/05/25      Page 4 of 37




      1     County’s partnerships with HUD, the State of California, local jurisdictions, and non-profits, and
      2     the coordination of these efforts through the Santa Clara County Continuum, have resulted in
      3
            huge strides in meeting community needs to reduce homelessness, even through unprecedented
      4
            challenges. For example, from 2015 to 2019, the County’s supportive housing system helped
      5
            nearly 9,000 households move from homelessness to permanent housing and doubled both the
      6

      7     number of supportive housing units and temporary shelter capacity.

      8              9.      Additionally, according to the County’s 2024 annual report on the Supportive

      9     Housing System, our system helped connect nearly 17,500 individuals to permanent housing
     10     between 2020 and 2024, including serving 5,514 individuals through rapid rehousing (74% of
     11
            whom remained housed following this intervention) and 3,789 individuals through permanent
     12
            supportive housing (95% of whom remained housed following this intervention). Rapid
     13
            rehousing consists of time-limited rental assistance paired with case management fitting the
     14

     15     needs of the particular household. Permanent supportive housing consists of long-term rental

     16     subsidies (often a HUD housing voucher, such as Section 8 vouchers) paired with case

     17     management fitting the needs of the particular household.
     18
                     10.     To be eligible for CoC-funded housing services, program participants first
     19
            complete a standardized housing assessment to assess the participant’s level of acuity and
     20
            connect participants experiencing homelessness to available services based on their unique
     21
            needs. After assessment, households are then prioritized based on vulnerability, serving the
     22

     23     highest need individuals and families first. This process is known as “Coordinated Entry.” After

     24     completing the assessment and prior to being enrolled in a housing program, a trained housing
     25     provider will gather documentation of each participant’s eligibility, including identification and
     26
            immigration documents, and refer participants to CoC-funded programs when the participant is
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 4
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12    Filed 05/05/25      Page 5 of 37




      1     determined to meet program eligibility, including applicable immigration requirements. OSH
      2     does not use the SAVE system administered by USCIS to verify immigration status, has not been
      3
            given access to SAVE, and has not been required to use SAVE or a similar shared, online
      4
            database to verify immigration status.
      5
                     11.     A large portion of CoC funding for which the County of Santa Clara is the
      6

      7     recipient supports rental assistance and/or case management for residents of permanent

      8     supportive housing programs, which provide services such as case management and clinical,

      9     educational, vocational, and housing services to help chronically homeless households obtain
     10     and keep their housing. The rental assistance and case management services supported through
     11
            HUD CoC project grants are provided to residents of permanent supportive housing
     12
            developments throughout the county. Case management matches clients to the services and
     13
            resources they need to remain stably housed.
     14

     15              12.     As of the last point-in-time count in 2023, nearly 10,000 individuals in Santa

     16     Clara County were experiencing homelessness, but the true number is most likely higher. The

     17     individuals and families served by these CoC grants are some of the most vulnerable residents of
     18
            the county, many of whom struggle with psychiatric conditions, chronic health problems, mental
     19
            health and substance use disorders, family trauma, and other challenges, and require additional
     20
            and ongoing support and services in order to help ensure that they maintain housing stability.
     21
            The households served by CoC grants are as diverse as the Santa Clara County population and
     22

     23     include veterans, seniors, survivors of domestic violence, families with children, former foster

     24     youth, and people with disabilities.
     25              13.     As the collaborative applicant on behalf of the Santa Clara County Continuum,
     26
            OSH submitted its application to HUD for the two-year Fiscal Year (FY) 2024 and FY 2025
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 5
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12    Filed 05/05/25     Page 6 of 37




      1     Notice of Funding Opportunity (NOFO) on October 30, 2024.
      2              14.     Awards for the FY 2024 and FY 2025 NOFO include over $47 million in annual
      3
            grant funding for the Santa Clara County Continuum. The County of Santa Clara is the direct
      4
            recipient for $33 million of that amount.
      5
                     15.     The County of Santa Clara uses these grant funds to deliver services through staff
      6

      7     at the Office of Supportive Housing and subcontracts with non-profit service providers selected

      8     through competitive procurements.

      9              16.     The funds awarded to the County of Santa Clara are spread across 20 separate
     10     projects. Thus far, the County has received two FY 2024 HUD CoC grant agreements, on March
     11
            26, 2025. The County has met all post-award conditions for funding for both of these grant
     12
            agreements set forth in 42 U.S.C. § 11382(d)(1)(A).
     13
                     17.     Attached hereto as Exhibit 1 is a true and correct copy of an FY 2024 grant
     14

     15     agreement received from HUD on March 26, 2025, for a grant term beginning on May 1, 2025.

     16     This grant would provide $1,669,293 for housing case management for individuals in permanent

     17     supportive housing. This grant would provide support for 120 households. This grant agreement
     18
            has been renewed by HUD for the last 14 consecutive years.
     19
                     18.     Attached hereto as Exhibit 2 is a true and correct copy of a second FY 2024 grant
     20
            agreement received from HUD on March 26, 2025, for a grant term beginning on May 1, 2025.
     21
            This grant would provide $2,919,238 for rapid rehousing (including rental assistance and
     22

     23     supportive services for families with minor children and young adults). This grant would

     24     provide support for 25 families and 44 transition-age youth (18-24 years old). This grant
     25     agreement has been renewed by HUD for the last 9 consecutive years.
     26
                     19.     Both of the grant agreements the County has received thus far for this year from
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 6
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12   Filed 05/05/25      Page 7 of 37




      1     HUD contain new terms that neither I, nor anyone on my team familiar with CoC grants, has
      2     ever seen before. These terms are the subject of the County’s lawsuit.
      3
                     20.     Awarded funds are not available for federal reimbursement until execution of the
      4
            grant agreements. HUD regulations say that the CoC grant agreements are to be executed by
      5
            HUD and the recipient no later than 45 days after all conditions are satisfied. In my years of
      6

      7     experience working with HUD CoC grants, I’m not aware of an instance that this deadline has

      8     been strictly enforced. This year, however, OSH is concerned that HUD could attempt to use

      9     this regulation as a pretense to cancel our grants and recapture funds if the grant agreements are
     10     not signed within 45 days of when they were received—i.e., by May 10.
     11
                     21.     Attached hereto as Exhibit 3 is a true and correct copy of HUD’s summary report
     12
            reflecting all 20 of the Santa Clara County Continuum grants awarded through HUD’s FY 2024
     13
            and FY 2025 NOFO for which the County of Santa Clara is the recipient. This list is available
     14

     15     on HUD’s website: https://www.hud.gov/stat/cpd/fy2024-coc-competition, under the Summary

     16     Reports by State/Territory for California.

     17              22.     Other than a small number of grants for which we are waiting for HUD to give
     18
            notice about additional matching funds conditions it expects from us, the County has met the
     19
            requirements for all remaining grant funds to be obligated under 42 U.S.C. § 11382(d)(1)(A).
     20
            Our renewal grants have terms that are set to begin on May 1, 2025, June 1, 2025, July 1, 2025,
     21
            October 1, 2025, November 1, 2025, and January 1, 2026.
     22

     23              23.     Many of the grant awards for which the County of Santa Clara is the recipient are

     24     renewals that have been ongoing for several years, through different federal administrations. In
     25     my own experience, I have reviewed HUD CoC grant agreements for many years, and
     26
            throughout this time, the grant terms have been fairly simple and other than outlining the
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 7
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12    Filed 05/05/25     Page 8 of 37




      1     approved budget and performance period, have generally only referred to the terms contained in
      2     the CoC statutory provisions, HUD CoC regulation, and NOFA. This includes but is not limited
      3
            to grant compliance terms related to program participant eligibility and related eligibility
      4
            documentation requirements, eligible activities, and eligible costs.
      5
                     24.     Because so many of our HUD CoC grants are renewals, the County has ongoing
      6

      7     obligations through established contractual relationships with service providers. Additionally,

      8     because the dates of HUD’s awarded grant terms do not line up with the County’s fiscal

      9     calendar, each year the County enters into a number of service agreements that begin on July 1,
     10     the beginning of the County’s fiscal year, with the expectation that the HUD CoC grants for
     11
            projects included in HUD’s award determination will be forthcoming, in accordance with the
     12
            terms set forth in the NOFO (as has been the case in prior years, to my knowledge).
     13
                     25.     In reliance on HUD’s CoC grant award announcement in January of this year, the
     14

     15     County has already had to budget for all of its awarded funds for subcontracts with service

     16     providers to deliver the CoC programs. As of May 1, 2025, the County had entered into

     17     subcontracts with service providers obligating more than $1.1 million in FY 2024 HUD CoC
     18
            grants. By June 30, 2025, the end of the County’s fiscal year, the County expects to have
     19
            executed subcontracts with service providers worth more than $27.6 million in FY 2024 HUD
     20
            CoC grant funds.
     21
                     26.     In total, the FY 2024 HUD CoC grants for which the County of Santa Clara is the
     22

     23     recipient would provide case management and supportive services to more than 1,500

     24     households, including chronically homeless individuals and households and individuals with
     25     disabilities. The County’s CoC grants include Permanent Supportive Housing programs, some
     26
            of which include grant funds for rental assistance for households in the programs. CoC grants
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 8
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR              Document 12   Filed 05/05/25    Page 9 of 37




      1     also fund supportive services such as housing case management for Permanent Supportive
      2     Housing programs. A portion of the County’s CoC grants for supportive case management are
      3
            leveraged by housing vouchers administered by the Santa Clara County Public Housing
      4
            Authority; the vouchers serve as the Santa Clara County Continuum’s in-kind match to satisfy
      5
            the conditions of the CoC grant award. The County’s CoC grants also support rapid rehousing
      6

      7     rental assistance combined with supportive services, which help individuals and families in Santa

      8     Clara County exit homelessness and return quickly to permanent housing. Rapid rehousing is a

      9     key component of the Santa Clara County Continuum’s response to homelessness because it
     10     connects people to housing as quickly as possible by providing rental assistance and other
     11
            supportive services like housing search and case management for up to two years.
     12
                     27.     Thousands of Santa Clara County residents who are experiencing or at risk of
     13
            homelessness rely on these programs and others funded by the CoC program. The most recent
     14

     15     reporting period for Santa Clara County’s CoC grant awards show that these grants collectively

     16     served over 1,500 households in Permanent Supportive Housing programs and 185 households in

     17     Rapid Rehousing programs. In total the County’s CoC grants served over 2,400 people
     18
            including over 1,947 adults and 507 minor children. People housed in these programs include
     19
            808 seniors, 1,327 people with a mental health disorder, 887 people with a chronic health
     20
            condition, 425 people with developmental disabilities, and 838 people with physical disabilities.
     21
            The loss of CoC funding would likely result in participants of these programs losing their
     22

     23     housing and being unable to access services they have relied on to achieve and maintain stability

     24     and independence. Loss of housing interventions such as rapid rehousing would also increase
     25     the burden on the County’s emergency shelter/temporary housing programs, and other safety net
     26
            programs, because, without access to rental assistance, the households are more likely to become
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 9
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR             Document 12    Filed 05/05/25     Page 10 of 37




      1     homeless or enter into chronic homelessness.
      2              28.     I understand that, if the County does not agree to the new terms in the HUD CoC
      3
            grant agreements, it faces losing nearly $33 million in funding for rental assistance, supportive
      4
            services, and case management to help thousands of Santa Clara County residents obtain and
      5
            maintain housing, and connect to employment opportunities, access benefits, and receive a host
      6

      7     of other valuable and life-saving services.

      8              29.     The loss of this funding, which represents approximately 37.4% of the County of

      9     Santa Clara’s entire permanent supportive housing and rapid rehousing program budget, would
     10     result in significant harm to the clients who rely on those programs and Santa Clara County’s
     11
            community as a whole. Losing the HUD CoC funding would not only immediately slash more
     12
            than a third of our budget for permanent supportive housing and rapid rehousing programs, but
     13
            would ripple through our entire system and undermine decades of efforts to end homelessness in
     14

     15     our community.

     16              30.     While the County leverages a combination of federal, state, and local funds

     17     towards its homelessness response, a large portion of rapid rehousing and permanent supportive
     18
            housing programs are supported with HUD CoC funding. Without the HUD CoC grant funds,
     19
            the County would be forced to choose between redirecting County General Funds away from
     20
            other services and programs—not just housing-related, but in other critical County service areas
     21
            such as public health, public safety, and social services—towards permanent supportive housing
     22

     23     rental assistance, case management, and rapid rehousing to try to make up for the loss and

     24     maintain this baseline level of service, or to consider dramatically cutting the programs, which
     25     would certainly lead to higher rates of homelessness and strains on other parts of the County’s
     26
            supportive housing system and other public safety net programs that the County is required to
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 10
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR             Document 12     Filed 05/05/25      Page 11 of 37




      1     operate.
      2              31.     The County, like entities across California and the nation, is facing budget deficits
      3
            that seriously strain the County General Fund resources the County has available to fund
      4
            programs if longstanding federal grant funds are cut off. To meet the County’s obligation to
      5
            deliver a balanced budget, County departments, agencies, and executive leadership made very
      6

      7     difficult choices—including cutting programs, services, and staff positions—in the most recent

      8     fiscal year’s Adopted Budget to close a $250 million budget deficit while maintaining critical

      9     services for the community. If the County were deprived of its CoC funding, it would struggle to
     10     sustain its CoC-funded services that serve homeless families with children; unhoused transition-
     11
            age youth (age 18-24); chronically homeless adults; and survivors of domestic violence, sexual
     12
            assault, human trafficking and/or stalking. With planning for the County’s annual budget for the
     13
            upcoming fiscal year, which begins on July 1, 2025 and runs through June 30, 2026, already well
     14

     15     underway, a loss of the County’s CoC funding would be a major and immediate disruption.

     16              32.     In addition to the harms to the community, the loss of CoC funds would also

     17     create operational harms. Under the CoC program, the Santa Clara County Continuum is
     18
            required to have a Homeless Management Information System (HMIS), a software system for
     19
            coordinating case management services and client information across homelessness assistance
     20
            and service providers within the region. The County of Santa Clara manages the HMIS for the
     21
            Continuum, including through $2.95 million in contracts with a vendor for developing and
     22

     23     maintaining the software program that serves as the Santa Clara County Continuum’s HMIS and

     24     providing technical support and system administrations services for over 1,700 HMIS users.
     25     HMIS administration and licenses support data collection and analysis for many purposes,
     26
            including prioritizing the most vulnerable homeless households and matching them to supportive
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 11
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR             Document 12    Filed 05/05/25     Page 12 of 37




      1     housing programs across the supportive housing system; reporting client outcomes for all
      2     homelessness services and programs as required for federal (including HUD) and state grants, as
      3
            well as local funding partners; reporting system-wide performance measures as required by HUD
      4
            and state grants; performing the annual homeless population count and housing inventory as
      5
            required by HUD; and conducting analyses to improve system performance overall to meet the
      6

      7     needs of the population, evaluate the efficacy of programs, and better understand our client

      8     population. State grants have now incorporated HMIS into their funding requirements as well.

      9     Through the FY 2024 and 2025 NOFO, HUD renewed the County’s $1.5 million grant for HMIS
     10     administration, which accounts for slightly more than 50% of the County’s direct HMIS costs.
     11
            Not only HUD, but also the State of California, require the maintenance of HMIS to meet grant
     12
            requirements (including reporting requirements under those grants). Therefore, without this
     13
            grant (which has a term beginning June 1, 2025), the County would be forced to redirect funding
     14

     15     away from other programs and services towards HMIS in order to remain in compliance.

     16     Another grant renewed by HUD through the FY 2024 and 2025 NOFO would provide $1.5

     17     million towards CoC planning and administration costs that are incurred by the County in doing
     18
            work that is necessary for HUD grant compliance, such as developing the Community Plan to
     19
            End Homelessness and providing technical assistance and training on CoC requirements to
     20
            service providers. Thus, losing the CoC grants for HMIS and for CoC planning/administration
     21
            would devastate the infrastructure that holds up the County’s supportive housing system and
     22

     23     create negative impacts that go well beyond just CoC-funded programs.

     24              33.     The loss of CoC funds will also have a direct and deleterious impact on the
     25     County. CoC Grants currently fund approximately 20 full-time equivalent positions within OSH
     26
            (approximately 14% of the Department). OSH’s employees are incredibly dedicated public
     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 12
Docusign Envelope ID: 22B3A56F-B49A-42E1-8A8E-5BECF164511F
                    Case 2:25-cv-00814-BJR             Document 12    Filed 05/05/25     Page 13 of 37




      1     servants, who are called upon to tackle one of society’s most heartbreaking and intractable
      2     problems. Our staffing and resources already strain to meet the demand of serving the County’s
      3
            nearly 10,000 homeless residents. The loss of funding for these positions could mean that the
      4
            Department is forced to make personnel and/or resource cuts, which would harm our ability to
      5
            administer contracts and grants, provide direct services to homeless clients, and manage
      6

      7     programs.

      8              34.     For a number of years, the County of Santa Clara has also annually received other

      9     HUD grants, including Supplemental CoC grants to address unsheltered homelessness,
     10     Community Development Block Grants, the HOME Investments Partnerships Program, and the
     11
            Emergency Solutions Grant Program. Accordingly, OSH has also budgeted in its fiscal year
     12
            2025 departmental budget approximately $6 million, combined, in reliance on these additional
     13
            HUD grants. I understand that the new grant funding conditions HUD has inserted into the CoC
     14

     15     grants could also be inserted into all HUD grants. Therefore, if it does not accept these

     16     conditions, the County may also have to grapple with the loss of federal funding for the broader

     17     set of projects and services supported by HUD funds beyond the CoC program.
     18
                     I declare under penalty of perjury under the laws of the United States of America that the
     19
            foregoing is true and correct.
     20

     21
                     EXECUTED at Los Gatos, California this 4th day of May, 2025.
     22

     23
                                                                          ______________________________
     24                                                                         Kathryn J. Kaminski
     25
     26

     27
            DECL. OF KATHRYN J. KAMINSKI IN SUPPORT OF
            MOTION FOR TEMPORARY RESTRAING ORDER - 13
           Case 2:25-cv-00814-BJR         Document 12        Filed 05/05/25      Page 14 of 37




1                                    CERTIFICATE OF SERVICE
2
            I hereby certify that on May 5, 2025, I served a true and correct copy of the foregoing
3
     document on the following parties by the method(s) indicated below:
4

5
      Scott Turner                                     ☐ CM/ECF E-service
6     Secretary of Housing and Urban Development       ☐ Email
      U.S. Department of Housing and Urban             ☐ U.S. Mail
7     Development
                                                       ☒ Certified Mail / Return Receipt Requested
      Office of the General Counsel
8     Robert C. Weaver Federal Building                ☐ Hand delivery / Personal service
      451 7th Street SW
9
      Washington, DC 20410
10
      U.S. Department of Housing and Urban             ☐ CM/ECF E-service
11    Development                                      ☐ Email
      Office of the General Counsel                    ☐ U.S. Mail
12    Robert C. Weaver Federal Building
                                                       ☒ Certified Mail / Return Receipt Requested
      451 7th Street SW
13                                                     ☐ Hand delivery / Personal service
      Washington, DC 20410
14
      Sean Duffy                                       ☐ CM/ECF E-service
15    Secretary of Transportation                      ☐ Email
      U.S. Department of Transportation                ☐ U.S. Mail
16    Office of the General Counsel
                                                       ☒ Certified Mail / Return Receipt Requested
17    1200 New Jersey Avenue, SE
      Washington, DC 20590                             ☐ Hand delivery / Personal service
18
      U.S. Department of Transportation                ☐ CM/ECF E-service
19    Office of the General Counsel                    ☐ Email
      1200 New Jersey Avenue, SE                       ☐ U.S. Mail
20
      Washington, DC 20590
                                                       ☒ Certified Mail / Return Receipt Requested
21                                                     ☐ Hand delivery / Personal service
22
      Matthew Welbes                                   ☐ CM/ECF E-service
23    Acting Administrator, Federal Transit            ☐ Email
      Administration                                   ☒ U.S. Mail
24    Federal Transit Administration
                                                       ☒ Certified Mail / Return Receipt Requested
      Office of the General Counsel
25                                                     ☐ Hand delivery / Personal service
      U.S. Department of Transportation, East
26    Building
      1200 New Jersey Avenue, SE
27    Washington, DC 20590
                                                                                PACIFICA LAW GROUP LLP
                                                                                      401 UNION STREET
     CERTIFICATE OF SERVICE - 1                                                           SUITE 1600
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                   TELEPHONE: (206) 245-1700
                                                                                   FACSIMILE: (206) 245-1750
           Case 2:25-cv-00814-BJR          Document 12          Filed 05/05/25    Page 15 of 37




1     Federal Transit Administration                      ☐ CM/ECF E-service
      Office of the General Counsel                       ☐ Email
2     U.S. Department of Transportation, East             ☐ U.S. Mail
3     Building
                                                          ☒ Certified Mail / Return Receipt Requested
      1200 New Jersey Avenue, SE
      Washington, DC 20590                                ☐ Hand delivery / Personal service
4

5     Alex Haas, Co-Director                              ☐ CM/ECF E-service
      Diane Kelleher, Co-Director                         ☒ Email
6     John Griffiths, Co-Director                         ☐ U.S. Mail
7     Eric J. Hamilton, Deputy Assistant Attorney
                                                          ☒ Certified Mail / Return Receipt Requested
      Federal Programs Branch
      Civil Division                                      ☐ Hand delivery / Personal service
8
      U.S. Department of Justice
9     950 Pennsylvania Avenue, NW
      Washington, DC 20530
10

11    alex.haas@usdoj.gov
      diane.kelleher@usdoj.gov
12    john.griffiths@usdoj.gov
      eric.hamilton@usdoj.gov
13
      Teal L. Miller, Acting United States Attorney       ☐ CM/ECF E-service
14
      Rebecca S. Cohen, Civil Division Chief              ☒ Email
15    United States Attorney’s Office for the             ☐ U.S. Mail
      Western District of Washington
                                                          ☒ Certified Mail / Return Receipt Requested
16    United States Attorney’s Office
      700 Stewart Street, Suite 5220                      ☐ Hand delivery / Personal service
17    Seattle, WA 98101-1271
18
      teal.miller@usdoj.gov
19    rebecca.cohen@usdoj.gov

20
            I declare under penalty of perjury under the laws of the United States and the State of
21
     Washington that the foregoing is true and correct.
22

23          DATED this 5th day of May 2025.
24                                                /s/ Gabriela DeGregorio
25                                                Gabriela DeGregorio
                                                  Litigation Assistant
26                                                Pacifica Law Group LLP

27
                                                                                  PACIFICA LAW GROUP LLP
                                                                                       401 UNION STREET
     CERTIFICATE OF SERVICE - 2                                                            SUITE 1600
                                                                                  SEATTLE, WASHINGTON 98101
                                                                                    TELEPHONE: (206) 245-1700
                                                                                    FACSIMILE: (206) 245-1750
Case 2:25-cv-00814-BJR   Document 12   Filed 05/05/25   Page 16 of 37




              EXHIBIT 1
      Case 2:25-cv-00814-BJR          Document 12       Filed 05/05/25      Page 17 of 37




Grant Number/FAIN: CA0001L9T002414
Recipient Name: County of Santa Clara by and through Office of Supportive Housing
Tax ID No.: XX-XXXXXXX
Unique Entity Identifier (UEI) Number: EWHRPZMQEHX3



            CONTINUUM OF CARE PROGRAM (Assistance Listing# 14.267)
                          GRANT AGREEMENT


     This Grant Agreement (“this Agreement”) is made by and between the United States
Department of Housing and Urban Development (“HUD”) and County of Santa Clara by and
through Office of Supportive Housing (the “Recipient”).

     This Agreement, the Recipient’s use of funds provided under this Agreement (the “Grant”
or “Grant Funds”), and the Recipient’s operation of projects assisted with Grant Funds are
governed by

   1. The Consolidated Appropriations Act, 2024 (Public Law 118-42, approved March 9,
      2024);

   2. title IV of the McKinney-Vento Homeless Assistance Act 42 U.S.C. 11301 et seq. (the
      “Act”);

   3. the Continuum of Care Program rule at 24 CFR part 578 (the “Rule”), as amended from
      time to time;

   4. the Notice of Funding Opportunity for FY 2024 and FY 2025 Continuum of Care
      Competition and Renewal or Replacement of Youth Homeless Demonstration Program
      (NOFO), except for references in the NOFO to Executive Orders that have since been
      repealed;

   5. all current Executive Orders; and

   6. the Recipient’s application submissions on the basis of which these Grant Funds were
      approved by HUD, including the certifications, assurances, technical submission
      documents, and any information or documentation required to meet any grant award
      condition (collectively, the “Application”).

      The Application is incorporated herein as part of this Agreement, except that only the
project (those projects) listed below are funded by this Agreement. In the event of any conflict
between any application provision and any provision contained in this Agreement, this
Agreement shall control. Capitalized terms that are not defined in this agreement shall have the
meanings given in the Rule.


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      Case 2:25-cv-00814-BJR         Document 12         Filed 05/05/25   Page 18 of 37




☐ The Recipient is a Unified Funding Agency (UFA).
☐ The Recipient is the sole recipient designated by the applicable Continuum of Care.
☒ The Recipient is not the only recipient designated by the applicable Continuum of Care.


        HUD’s total funding obligation authorized by this grant agreement is $1669293, allocated
between the project(s) listed below (each identified by a separate grant number) and, within
those projects, between budget line items, as shown below. The Grant Funds an individual
project will receive are as shown in the Application on the final HUD-approved Summary
Budget for the project. Recipient shall use the Grant Funds provided for the projects listed
below, during the budget period(s) period stated below.


    Grant No. (FAIN)        Grant       Performance        Budget         Total Amount
                            Term        Period             Period
    CA0001L9T002414         12          May 1, 2025 –      May 1, 2025 – $1,669,293
                                        April 30, 2026     April 30, 2026
    allocated between budget line items as follows:
        a. Continuum of Care Planning Activities                           $0
        b. Acquisition                                                     $0
        c. Rehabilitation                                                  $0
        d. New construction                                                $0
        e. Leasing                                                         $0
        f. Rental assistance                                               $0
        g. Supportive services                                             $1,526,629
        h. Operating costs                                                 $0
        i. Homeless Management Information System                          $0
        j. Administrative costs                                            $142,654
        k. Relocation costs                                                $0
        l. VAWA Costs                                                      $10
        m. Rural Costs                                                     $0
        n. HPC homelessness prevention activities:
                  Housing relocation and stabilization services            $0
                  Short-term and medium-term rental assistance             $0


Pre-award Costs for Continuum of Care Planning

       The Recipient may, at its own risk, incur pre-award costs for continuum of care planning
awards, after the date of the HUD selection notice and prior to the effective date of this
Agreement, if such costs: a) are consistent with 2 CFR 200.458; and b) would be allowable as a

                                                                                              2
      Case 2:25-cv-00814-BJR          Document 12        Filed 05/05/25      Page 19 of 37




post-award cost; and c) do not exceed 10 percent of the total funds obligated to this award. The
incurrence of pre-award costs in anticipation of an award imposes no obligation on HUD either
to make the award, or to increase the amount of the approved budget, if the award is made for
less than the amount anticipated and is inadequate to cover the pre-award costs incurred.

These provisions apply to all Recipients:

     The Recipient:

           (1) shall not use grant funds to promote “gender ideology,” as defined in E.O. 14168,
               Defending Women from Gender Ideology Extremism and Restoring Biological
               Truth to the Federal Government;

           (2) agrees that its compliance in all respects with all applicable Federal anti-
               discrimination laws is material to the U.S. Government’s payment decisions for
               purposes of section 3729(b)(4) of title 31, United States Code;

           (3) certifies that it does not operate any programs that violate any applicable Federal
               anti-discrimination laws, including Title VI of the Civil Rights Act of 1964;

           (4) shall not use any Grant Funds to fund or promote elective abortions, as required
               by E.O. 14182, Enforcing the Hyde Amendment; and


           (5) Notwithstanding anything in the NOFO or Application, this Grant shall not be
               governed by Executive Orders revoked by E.O. 14154, including E.O. 14008, or
               NOFO requirements implementing Executive Orders that have been revoked.


       The recipient must administer its grant in accordance with all applicable immigration
restrictions and requirements, including the eligibility and verification requirements that apply
under title IV of the Personal Responsibility and Work Opportunity Reconciliation Act of 1996,
as amended (8 U.S.C. 1601-1646) (PRWORA) and any applicable requirements that HUD, the
Attorney General, or the U.S. Center for Immigration Services may establish from time to time
to comply with PRWORA, Executive Order 14218, or other Executive Orders or immigration
laws.

      No state or unit of general local government that receives funding under this grant may use
that funding in a manner that by design or effect facilitates the subsidization or promotion of
illegal immigration or abets policies that seek to shield illegal aliens from deportation.

       Subject to the exceptions provided by PRWORA, the recipient must use SAVE, or an
equivalent verification system approved by the Federal government, to prevent any Federal
public benefit from being provided to an ineligible alien who entered the United States illegally
or is otherwise unlawfully present in the United States.

     HUD will not enforce provisions of the Grant Agreement to the extent that they require the
                                                                                                     3
      Case 2:25-cv-00814-BJR          Document 12       Filed 05/05/25      Page 20 of 37




project to use a housing first program model.

      As stated in Section III.A.2 of the NOFO, Faith-based organizations may be recipients or
subrecipients for funds under this agreement on the same basis as any other organization.
Recipients may not, in the selection of subrecipients, discriminate against an organization based
on the organization’s religious character, affiliation, or exercise.

      If any new projects funded under this Agreement are for project-based rental assistance for
a term of fifteen (15) years, the funding provided under this Agreement is for the performance
period stated herein only. Additional funding is subject to the availability of annual
appropriations.

      The budget period and performance period of renewal projects funded by this Agreement
will begin immediately at the end of the budget period and performance period of the grant being
renewed. Eligible costs incurred between the end of Recipient's budget period and performance
period under the grant being renewed and the date this Agreement is executed by both parties
may be reimbursed with Grants Funds from this Agreement. No Grant Funds for renewal
projects may be drawn down by Recipient before the end date of the project’s budget period and
performance period under the grant that has been renewed.

      For any transition project funded under this Agreement the budget period and performance
period of the transition project(s) will begin immediately at the end of the Recipient's final
operating year under the grant being transitioned. Eligible costs, as defined by the Act and the
Rule incurred between the end of Recipient's final operating year under the grant being
transitioned and the execution of this Agreement may be paid with funds from the first operating
year of this Agreement.

       HUD designations of Continuums of Care as High-performing Communities (HPCS) are
published on HUD.gov in the appropriate Fiscal Years’ CoC Program Competition Funding
Availability page. Notwithstanding anything to the contrary in the Application or this
Agreement, Recipient may only use grant funds for HPC Homelessness Prevention Activities if
the Continuum that designated the Recipient to apply for the grant was designated an HPC for
the applicable fiscal year.

        The Recipient must use the Grant Funds only for costs (including indirect costs) that meet
the applicable requirements in 2 CFR part 200 (including appendices), as may be amended from
time to time. The Recipient’s indirect cost rate information is as provided in Addendum #1 to
this Agreement. The Recipient must immediately notify HUD upon any change in the
Recipient’s indirect cost rate, so that HUD can amend the Agreement to reflect the change if
necessary.

      HUD notifications to the Recipient shall be to the address of the Recipient as stated in the
Recipient’s applicant profile in e-snaps. Recipient notifications to HUD shall be to the HUD
Field Office executing the Agreement. No right, benefit, or advantage of the Recipient hereunder
may be assigned without prior written approval of HUD.



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      Case 2:25-cv-00814-BJR          Document 12        Filed 05/05/25     Page 21 of 37




    The Recipient must comply with the applicable requirements in 2 CFR part 200, as may be
amended from time to time.

Build America, Buy America Act. The Grantee must comply with the requirements of the Build
America, Buy America (BABA) Act, 41 USC 8301 note, and all applicable rules and notices, as
may be amended, if applicable to the Grantee’s infrastructure project. Pursuant to HUD’s Notice,
“Public Interest Phased Implementation Waiver for FY 2022 and 2023 of Build America, Buy
America Provisions as Applied to Recipients of HUD Federal Financial Assistance” (88 FR
17001), any funds obligated by HUD on or after the applicable listed effective dates, are subject
to BABA requirements, unless excepted by a waiver.

Waste, Fraud, Abuse, and Whistleblower Protections. Any person who becomes aware of the
existence or apparent existence of fraud, waste or abuse of any HUD award must report such
incidents to both the HUD official responsible for the award and to HUD’s Office of Inspector
General (OIG). HUD OIG is available to receive allegations of fraud, waste, and abuse related to
HUD programs via its hotline number (1-800-347-3735) and its online hotline form. You must
comply with 41 U.S.C. § 4712, which includes informing your employees in writing of their
rights and remedies, in the predominant native language of the workforce. Under 41 U.S.C. §
4712, employees of a government contractor, subcontractor, grantee, and subgrantee—as well as
a personal services contractor—who make a protected disclosure about a Federal grant or
contract cannot be discharged, demoted, or otherwise discriminated against as long as they
reasonably believe the information they disclose is evidence of:
      1. Gross mismanagement of a Federal contract or grant;
      2. Waste of Federal funds;
      3. Abuse of authority relating to a Federal contract or grant;
      4. Substantial and specific danger to public health and safety; or
      5. Violations of law, rule, or regulation related to a Federal contract or grant.

     HUD may terminate all or a portion of the Grant in accordance with the Act, the Rule, and
2 CFR 200.340.    The Agreement constitutes the entire agreement between the parties and
may be amended only in writing executed by HUD and the Recipient.

     By signing below, Recipients that are states and units of local government certify that they
are following a current HUD approved CHAS (Consolidated Plan).




                                                                                                    5
      Case 2:25-cv-00814-BJR         Document 12       Filed 05/05/25        Page 22 of 37




    This agreement is hereby executed on behalf of the parties as follows:

UNITED STATES OF AMERICA,
Secretary of Housing and Urban Development


BY: _________________________________________________
     (Signature)

     _____Rebecca Blanco, CPD Director___________________
      (Typed Name and Title)

     ____March 26, 2025________________________________
      (Date/Federal Award Date)


RECIPIENT

County of Santa Clara by and through Office of Supportive Housing
(Name of Organization)


BY: _________________________________________________
     (Signature of Authorized Official)

     _________________________________________________
      (Typed Name and Title of Authorized Official)

     _________________________________________________
       (Date)




                                                                                             6
              Case 2:25-cv-00814-BJR             Document 12          Filed 05/05/25        Page 23 of 37
                                                                                                     OMB Number. 2501-0044
                                Addendum #1 to CA0001L9T002414                                       Expiration Date: 2/28/2027

Indirect Cost Information for Award Applicant/Recipient

   1. Federal Program/Assistance Listing Program Title:
   CONTINUUM OF CARE PROGRAM/Assistance Listing# 14.267
   2. Legal Name of Applicant/Recipient:

   3. Indirect Cost Rate Information for the Applicant/Recipient:
      Please check the box that applies to the Applicant/Recipient and complete the table only as provided by the
      instructions accompanying this form.

      ☐       The Applicant/Recipient will not charge indirect costs using an indirect cost rate.

      ☐       The Applicant/Recipient will calculate and charge indirect costs under the award by applying a de
              minimis rate as provided by 2 CFR 200.414(f), as may be amended from time to time.
      ☐       The Applicant/Recipient will calculate and charge indirect costs under the award using the indirect cost
              rate(s) in the table below, and each rate in this table is included in an indirect cost rate proposal developed
              in accordance with the applicable appendix to 2 CFR part 200 and, if required, has been approved by the
              cognizant agency for indirect costs.


               Agency/department/major              Indirect cost     Type of Direct Cost           Type of Rate
               function                             rate              Base

                                                                 %

                                                                 %

                                                                 %

   4. Submission Type (check only one):                                          5. Effective date(s):
      ☐ Initial submission ☐ Update

   6. Certification of Authorized Representative for the Applicant/Recipient:
      **Under penalty of perjury, I certify on behalf of the Applicant/Recipient that
      (1) all information provided on this form is true, complete, and accurate, and
      (2) the Applicant/Recipient will provide HUD with an update to this form immediately upon learning of any
      change in the information provided on this form, and
      (3) I am authorized to speak for the Applicant/Recipient regarding all information provided on this form.

      Signature: _____________________________________________
      Date: _____________________
      Name: ________________________________________
      Title: _____________________________




                                                                                                                                  7
                   Case 2:25-cv-00814-BJR                    Document 12             Filed 05/05/25            Page 24 of 37
**Warning: Anyone who knowingly submits a false claim or makes a false statement is subject to criminal and/or civil penalties, including
confinement for up to 5 years, fines, and civil and administrative penalties (18 U.S.C §§ 287, 1001, 1010, 1012, 1014; 31 U.S.C. § 3729, 3802; 24 CFR §
28.10(b)(iii)).

Public Reporting Burden Statement: This collection of information is estimated to average 0.25 hours per response, including the time for reviewing
instructions, searching existing data sources, gathering, and maintaining the data needed, and completing and reviewing the collection of the
requested information. Comments regarding the accuracy of this burden estimate and any suggestions for reducing this burden can be sent to: U.S.
Department of Housing and Urban Development, Office of the Chief Data Officer, R, 451 7th St SW, Room 8210, Washington, DC 20410-5000. Do not
send completed forms to this address. This agency may not conduct or sponsor, and a person is not required to respond to, a collection of
information unless the collection displays a valid OMB control number. This agency is authorized to collect this information under Section 102 of the
Department of Housing and Urban Development Reform Act of 1989. The information you provide will enable HUD to carry out its responsibilities
under this Act and ensure greater accountability and integrity in the provision of certain types of assistance administered by HUD. This information is
required to obtain the benefit sought in the grant program. Failure to provide any required information may delay the processing of your application
and may result in sanctions and penalties including of the administrative and civil money penalties specified under 24 CFR §4.38. This information will
not be held confidential and may be made available to the public in accordance with the Freedom of Information Act (5 U.S.C. §552). The information
contained on the form is not retrieved by a personal identifier, therefore it does not meet the threshold for a Privacy Act Statement.




                                                                                                                                                     8
         Case 2:25-cv-00814-BJR         Document 12        Filed 05/05/25        Page 25 of 37



                                                                                 OMB Number. 2501-0044
                                                                                 Expiration Date: 2/28/2027

     Instructions for Completing the Indirect Cost Information for the Award
     Applicant/Recipient

Number   Item                 Instructions
1        Federal Program/     Enter the title of the program as listed in the applicable funding
         Assistance Listing   announcement or notice of funding availability.
         Program Title
2        Legal Name of        Enter the legal name of the entity that will serve as the recipient of the
         Applicant/           award from HUD.
         Recipient
3        Indirect Cost Rate   Mark the one (and only one) checkbox that best reflects how the
         Information for      indirect costs of the Applicant/Recipient will be calculated and
         the Applicant/       charged under the award. Do not include indirect cost rate
         Recipient            information for subrecipients.

                              The table following the third checkbox must be completed only if that
                              checkbox is checked. When listing a rate in the table, enter the
                              percentage amount (for example, “15%”), the type of direct cost base
                              to be used (for example, “MTDC”), and the type of rate
                              (“predetermined,” “final,” “fixed,” or “provisional”).

                              If using the Simplified Allocation Method for indirect costs, enter the
                              applicable indirect cost rate and type of direct cost base in the first row of
                              the table.

                              If using the Multiple Allocation Base Method, enter each major function
                              of the organization for which a rate was developed and will be used
                              under the award, the indirect cost rate applicable to that major
                              function, and the type of direct cost base to which the rate will be
                              applied.

                              If the Applicant/Recipient is a government and more than one agency
                              or department will carry out activities under the award, enter each
                              agency or department that will carry out activities under the award,
                              the indirect cost rate(s) for that agency or department, and the type of
                              direct cost base to which each rate will be applied.
4        Submission Type      Check the appropriate box to identify whether this is the first
                              submission of this form for the award or an update to a previous
                              submission of this form for the award.
5        Effective date(s)    Enter the date(s) for which the information on this form applies.
6        Certification of     An employee or officer of the Applicant/Recipient with the capacity
         Authorized           and authority to make this certification for the Applicant/Recipient
         Representative for   must make the certification by signing as provided. They must also
         the Applicant/       provide the date of their signature, full name, and position title.
         Recipient




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Case 2:25-cv-00814-BJR   Document 12   Filed 05/05/25   Page 26 of 37




              EXHIBIT 2
      Case 2:25-cv-00814-BJR          Document 12       Filed 05/05/25      Page 27 of 37




Grant Number/FAIN: CA1385L9T002409
Recipient Name: County of Santa Clara by and through Office of Supportive Housing
Tax ID No.: XX-XXXXXXX
Unique Entity Identifier (UEI) Number: EWHRPZMQEHX3



            CONTINUUM OF CARE PROGRAM (Assistance Listing# 14.267)
                          GRANT AGREEMENT


     This Grant Agreement (“this Agreement”) is made by and between the United States
Department of Housing and Urban Development (“HUD”) and County of Santa Clara by and
through Office of Supportive Housing (the “Recipient”).

     This Agreement, the Recipient’s use of funds provided under this Agreement (the “Grant”
or “Grant Funds”), and the Recipient’s operation of projects assisted with Grant Funds are
governed by

   1. The Consolidated Appropriations Act, 2024 (Public Law 118-42, approved March 9,
      2024);

   2. title IV of the McKinney-Vento Homeless Assistance Act 42 U.S.C. 11301 et seq. (the
      “Act”);

   3. the Continuum of Care Program rule at 24 CFR part 578 (the “Rule”), as amended from
      time to time;

   4. the Notice of Funding Opportunity for FY 2024 and FY 2025 Continuum of Care
      Competition and Renewal or Replacement of Youth Homeless Demonstration Program
      (NOFO), except for references in the NOFO to Executive Orders that have since been
      repealed;

   5. all current Executive Orders; and

   6. the Recipient’s application submissions on the basis of which these Grant Funds were
      approved by HUD, including the certifications, assurances, technical submission
      documents, and any information or documentation required to meet any grant award
      condition (collectively, the “Application”).

      The Application is incorporated herein as part of this Agreement, except that only the
project (those projects) listed below are funded by this Agreement. In the event of any conflict
between any application provision and any provision contained in this Agreement, this
Agreement shall control. Capitalized terms that are not defined in this agreement shall have the
meanings given in the Rule.


                                                                                                   1
      Case 2:25-cv-00814-BJR         Document 12         Filed 05/05/25   Page 28 of 37




☐ The Recipient is a Unified Funding Agency (UFA).
☐ The Recipient is the sole recipient designated by the applicable Continuum of Care.
☒ The Recipient is not the only recipient designated by the applicable Continuum of Care.


        HUD’s total funding obligation authorized by this grant agreement is $2919238, allocated
between the project(s) listed below (each identified by a separate grant number) and, within
those projects, between budget line items, as shown below. The Grant Funds an individual
project will receive are as shown in the Application on the final HUD-approved Summary
Budget for the project. Recipient shall use the Grant Funds provided for the projects listed
below, during the budget period(s) period stated below.


    Grant No. (FAIN)        Grant       Performance        Budget         Total Amount
                            Term        Period             Period
    CA1385L9T002409         12          May 1, 2025 –      May 1, 2025 – $2,919,238
                                        April 30, 2026     April 30, 2026
    allocated between budget line items as follows:
        a. Continuum of Care Planning Activities                           $0
        b. Acquisition                                                     $0
        c. Rehabilitation                                                  $0
        d. New construction                                                $0
        e. Leasing                                                         $0
        f. Rental assistance                                               $2,704,620
        g. Supportive services                                             $70,888
        h. Operating costs                                                 $0
        i. Homeless Management Information System                          $0
        j. Administrative costs                                            $143,720
        k. Relocation costs                                                $0
        l. VAWA Costs                                                      $10
        m. Rural Costs                                                     $0
        n. HPC homelessness prevention activities:
                  Housing relocation and stabilization services            $0
                  Short-term and medium-term rental assistance             $0


Pre-award Costs for Continuum of Care Planning

       The Recipient may, at its own risk, incur pre-award costs for continuum of care planning
awards, after the date of the HUD selection notice and prior to the effective date of this
Agreement, if such costs: a) are consistent with 2 CFR 200.458; and b) would be allowable as a

                                                                                              2
      Case 2:25-cv-00814-BJR          Document 12        Filed 05/05/25      Page 29 of 37




post-award cost; and c) do not exceed 10 percent of the total funds obligated to this award. The
incurrence of pre-award costs in anticipation of an award imposes no obligation on HUD either
to make the award, or to increase the amount of the approved budget, if the award is made for
less than the amount anticipated and is inadequate to cover the pre-award costs incurred.

These provisions apply to all Recipients:

     The Recipient:

           (1) shall not use grant funds to promote “gender ideology,” as defined in E.O. 14168,
               Defending Women from Gender Ideology Extremism and Restoring Biological
               Truth to the Federal Government;

           (2) agrees that its compliance in all respects with all applicable Federal anti-
               discrimination laws is material to the U.S. Government’s payment decisions for
               purposes of section 3729(b)(4) of title 31, United States Code;

           (3) certifies that it does not operate any programs that violate any applicable Federal
               anti-discrimination laws, including Title VI of the Civil Rights Act of 1964;

           (4) shall not use any Grant Funds to fund or promote elective abortions, as required
               by E.O. 14182, Enforcing the Hyde Amendment; and


           (5) Notwithstanding anything in the NOFO or Application, this Grant shall not be
               governed by Executive Orders revoked by E.O. 14154, including E.O. 14008, or
               NOFO requirements implementing Executive Orders that have been revoked.


       The recipient must administer its grant in accordance with all applicable immigration
restrictions and requirements, including the eligibility and verification requirements that apply
under title IV of the Personal Responsibility and Work Opportunity Reconciliation Act of 1996,
as amended (8 U.S.C. 1601-1646) (PRWORA) and any applicable requirements that HUD, the
Attorney General, or the U.S. Center for Immigration Services may establish from time to time
to comply with PRWORA, Executive Order 14218, or other Executive Orders or immigration
laws.

      No state or unit of general local government that receives funding under this grant may use
that funding in a manner that by design or effect facilitates the subsidization or promotion of
illegal immigration or abets policies that seek to shield illegal aliens from deportation.

       Subject to the exceptions provided by PRWORA, the recipient must use SAVE, or an
equivalent verification system approved by the Federal government, to prevent any Federal
public benefit from being provided to an ineligible alien who entered the United States illegally
or is otherwise unlawfully present in the United States.

     HUD will not enforce provisions of the Grant Agreement to the extent that they require the
                                                                                                     3
      Case 2:25-cv-00814-BJR          Document 12       Filed 05/05/25      Page 30 of 37




project to use a housing first program model.

      As stated in Section III.A.2 of the NOFO, Faith-based organizations may be recipients or
subrecipients for funds under this agreement on the same basis as any other organization.
Recipients may not, in the selection of subrecipients, discriminate against an organization based
on the organization’s religious character, affiliation, or exercise.

      If any new projects funded under this Agreement are for project-based rental assistance for
a term of fifteen (15) years, the funding provided under this Agreement is for the performance
period stated herein only. Additional funding is subject to the availability of annual
appropriations.

      The budget period and performance period of renewal projects funded by this Agreement
will begin immediately at the end of the budget period and performance period of the grant being
renewed. Eligible costs incurred between the end of Recipient's budget period and performance
period under the grant being renewed and the date this Agreement is executed by both parties
may be reimbursed with Grants Funds from this Agreement. No Grant Funds for renewal
projects may be drawn down by Recipient before the end date of the project’s budget period and
performance period under the grant that has been renewed.

      For any transition project funded under this Agreement the budget period and performance
period of the transition project(s) will begin immediately at the end of the Recipient's final
operating year under the grant being transitioned. Eligible costs, as defined by the Act and the
Rule incurred between the end of Recipient's final operating year under the grant being
transitioned and the execution of this Agreement may be paid with funds from the first operating
year of this Agreement.

       HUD designations of Continuums of Care as High-performing Communities (HPCS) are
published on HUD.gov in the appropriate Fiscal Years’ CoC Program Competition Funding
Availability page. Notwithstanding anything to the contrary in the Application or this
Agreement, Recipient may only use grant funds for HPC Homelessness Prevention Activities if
the Continuum that designated the Recipient to apply for the grant was designated an HPC for
the applicable fiscal year.

        The Recipient must use the Grant Funds only for costs (including indirect costs) that meet
the applicable requirements in 2 CFR part 200 (including appendices), as may be amended from
time to time. The Recipient’s indirect cost rate information is as provided in Addendum #1 to
this Agreement. The Recipient must immediately notify HUD upon any change in the
Recipient’s indirect cost rate, so that HUD can amend the Agreement to reflect the change if
necessary.

      HUD notifications to the Recipient shall be to the address of the Recipient as stated in the
Recipient’s applicant profile in e-snaps. Recipient notifications to HUD shall be to the HUD
Field Office executing the Agreement. No right, benefit, or advantage of the Recipient hereunder
may be assigned without prior written approval of HUD.



                                                                                                    4
      Case 2:25-cv-00814-BJR          Document 12        Filed 05/05/25     Page 31 of 37




    The Recipient must comply with the applicable requirements in 2 CFR part 200, as may be
amended from time to time.

Build America, Buy America Act. The Grantee must comply with the requirements of the Build
America, Buy America (BABA) Act, 41 USC 8301 note, and all applicable rules and notices, as
may be amended, if applicable to the Grantee’s infrastructure project. Pursuant to HUD’s Notice,
“Public Interest Phased Implementation Waiver for FY 2022 and 2023 of Build America, Buy
America Provisions as Applied to Recipients of HUD Federal Financial Assistance” (88 FR
17001), any funds obligated by HUD on or after the applicable listed effective dates, are subject
to BABA requirements, unless excepted by a waiver.

Waste, Fraud, Abuse, and Whistleblower Protections. Any person who becomes aware of the
existence or apparent existence of fraud, waste or abuse of any HUD award must report such
incidents to both the HUD official responsible for the award and to HUD’s Office of Inspector
General (OIG). HUD OIG is available to receive allegations of fraud, waste, and abuse related to
HUD programs via its hotline number (1-800-347-3735) and its online hotline form. You must
comply with 41 U.S.C. § 4712, which includes informing your employees in writing of their
rights and remedies, in the predominant native language of the workforce. Under 41 U.S.C. §
4712, employees of a government contractor, subcontractor, grantee, and subgrantee—as well as
a personal services contractor—who make a protected disclosure about a Federal grant or
contract cannot be discharged, demoted, or otherwise discriminated against as long as they
reasonably believe the information they disclose is evidence of:
      1. Gross mismanagement of a Federal contract or grant;
      2. Waste of Federal funds;
      3. Abuse of authority relating to a Federal contract or grant;
      4. Substantial and specific danger to public health and safety; or
      5. Violations of law, rule, or regulation related to a Federal contract or grant.

     HUD may terminate all or a portion of the Grant in accordance with the Act, the Rule, and
2 CFR 200.340.    The Agreement constitutes the entire agreement between the parties and
may be amended only in writing executed by HUD and the Recipient.

     By signing below, Recipients that are states and units of local government certify that they
are following a current HUD approved CHAS (Consolidated Plan).




                                                                                                    5
      Case 2:25-cv-00814-BJR         Document 12       Filed 05/05/25        Page 32 of 37




    This agreement is hereby executed on behalf of the parties as follows:

UNITED STATES OF AMERICA,
Secretary of Housing and Urban Development


BY: _________________________________________________
     (Signature)

     ______Rebecca Blanco, CPD Director__________________
      (Typed Name and Title)

     _______March 24, 2025______________________________
      (Date/Federal Award Date)


RECIPIENT

County of Santa Clara by and through Office of Supportive Housing
(Name of Organization)


BY: _________________________________________________
     (Signature of Authorized Official)

     _________________________________________________
      (Typed Name and Title of Authorized Official)

     _________________________________________________
       (Date)




                                                                                             6
              Case 2:25-cv-00814-BJR             Document 12          Filed 05/05/25        Page 33 of 37
                                                                                                     OMB Number. 2501-0044
                                Addendum #1 to CA1385L9T002409                                       Expiration Date: 2/28/2027

Indirect Cost Information for Award Applicant/Recipient

   1. Federal Program/Assistance Listing Program Title:
   CONTINUUM OF CARE PROGRAM/Assistance Listing# 14.267
   2. Legal Name of Applicant/Recipient:

   3. Indirect Cost Rate Information for the Applicant/Recipient:
      Please check the box that applies to the Applicant/Recipient and complete the table only as provided by the
      instructions accompanying this form.

      ☐       The Applicant/Recipient will not charge indirect costs using an indirect cost rate.

      ☐       The Applicant/Recipient will calculate and charge indirect costs under the award by applying a de
              minimis rate as provided by 2 CFR 200.414(f), as may be amended from time to time.
      ☐       The Applicant/Recipient will calculate and charge indirect costs under the award using the indirect cost
              rate(s) in the table below, and each rate in this table is included in an indirect cost rate proposal developed
              in accordance with the applicable appendix to 2 CFR part 200 and, if required, has been approved by the
              cognizant agency for indirect costs.


               Agency/department/major              Indirect cost     Type of Direct Cost           Type of Rate
               function                             rate              Base

                                                                 %

                                                                 %

                                                                 %

   4. Submission Type (check only one):                                          5. Effective date(s):
      ☐ Initial submission ☐ Update

   6. Certification of Authorized Representative for the Applicant/Recipient:
      **Under penalty of perjury, I certify on behalf of the Applicant/Recipient that
      (1) all information provided on this form is true, complete, and accurate, and
      (2) the Applicant/Recipient will provide HUD with an update to this form immediately upon learning of any
      change in the information provided on this form, and
      (3) I am authorized to speak for the Applicant/Recipient regarding all information provided on this form.

      Signature: _____________________________________________
      Date: _____________________
      Name: ________________________________________
      Title: _____________________________




                                                                                                                                  7
                   Case 2:25-cv-00814-BJR                    Document 12             Filed 05/05/25            Page 34 of 37
**Warning: Anyone who knowingly submits a false claim or makes a false statement is subject to criminal and/or civil penalties, including
confinement for up to 5 years, fines, and civil and administrative penalties (18 U.S.C §§ 287, 1001, 1010, 1012, 1014; 31 U.S.C. § 3729, 3802; 24 CFR §
28.10(b)(iii)).

Public Reporting Burden Statement: This collection of information is estimated to average 0.25 hours per response, including the time for reviewing
instructions, searching existing data sources, gathering, and maintaining the data needed, and completing and reviewing the collection of the
requested information. Comments regarding the accuracy of this burden estimate and any suggestions for reducing this burden can be sent to: U.S.
Department of Housing and Urban Development, Office of the Chief Data Officer, R, 451 7th St SW, Room 8210, Washington, DC 20410-5000. Do not
send completed forms to this address. This agency may not conduct or sponsor, and a person is not required to respond to, a collection of
information unless the collection displays a valid OMB control number. This agency is authorized to collect this information under Section 102 of the
Department of Housing and Urban Development Reform Act of 1989. The information you provide will enable HUD to carry out its responsibilities
under this Act and ensure greater accountability and integrity in the provision of certain types of assistance administered by HUD. This information is
required to obtain the benefit sought in the grant program. Failure to provide any required information may delay the processing of your application
and may result in sanctions and penalties including of the administrative and civil money penalties specified under 24 CFR §4.38. This information will
not be held confidential and may be made available to the public in accordance with the Freedom of Information Act (5 U.S.C. §552). The information
contained on the form is not retrieved by a personal identifier, therefore it does not meet the threshold for a Privacy Act Statement.




                                                                                                                                                     8
         Case 2:25-cv-00814-BJR         Document 12        Filed 05/05/25        Page 35 of 37



                                                                                 OMB Number. 2501-0044
                                                                                 Expiration Date: 2/28/2027

     Instructions for Completing the Indirect Cost Information for the Award
     Applicant/Recipient

Number   Item                 Instructions
1        Federal Program/     Enter the title of the program as listed in the applicable funding
         Assistance Listing   announcement or notice of funding availability.
         Program Title
2        Legal Name of        Enter the legal name of the entity that will serve as the recipient of the
         Applicant/           award from HUD.
         Recipient
3        Indirect Cost Rate   Mark the one (and only one) checkbox that best reflects how the
         Information for      indirect costs of the Applicant/Recipient will be calculated and
         the Applicant/       charged under the award. Do not include indirect cost rate
         Recipient            information for subrecipients.

                              The table following the third checkbox must be completed only if that
                              checkbox is checked. When listing a rate in the table, enter the
                              percentage amount (for example, “15%”), the type of direct cost base
                              to be used (for example, “MTDC”), and the type of rate
                              (“predetermined,” “final,” “fixed,” or “provisional”).

                              If using the Simplified Allocation Method for indirect costs, enter the
                              applicable indirect cost rate and type of direct cost base in the first row of
                              the table.

                              If using the Multiple Allocation Base Method, enter each major function
                              of the organization for which a rate was developed and will be used
                              under the award, the indirect cost rate applicable to that major
                              function, and the type of direct cost base to which the rate will be
                              applied.

                              If the Applicant/Recipient is a government and more than one agency
                              or department will carry out activities under the award, enter each
                              agency or department that will carry out activities under the award,
                              the indirect cost rate(s) for that agency or department, and the type of
                              direct cost base to which each rate will be applied.
4        Submission Type      Check the appropriate box to identify whether this is the first
                              submission of this form for the award or an update to a previous
                              submission of this form for the award.
5        Effective date(s)    Enter the date(s) for which the information on this form applies.
6        Certification of     An employee or officer of the Applicant/Recipient with the capacity
         Authorized           and authority to make this certification for the Applicant/Recipient
         Representative for   must make the certification by signing as provided. They must also
         the Applicant/       provide the date of their signature, full name, and position title.
         Recipient




                                                                                                         9
Case 2:25-cv-00814-BJR   Document 12   Filed 05/05/25   Page 36 of 37




              EXHIBIT 3
                                       Case 2:25-cv-00814-BJR                      Document 12               Filed 05/05/25           Page 37 of 37


             CoC                                                                                                                                                                 FY 2024
State        Number   CoC Name                                 Organization Name                                                   Project or Award Name                         Amount
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   CA-500 CoC Planning Project FY2024             $1,500,000
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   RELIGHT Project                                $1,680,036
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Immanuel-Sobrato Community                       $944,697
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Housing Case Management for Medical Respite    $1,669,293
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Second Street Studios                            $615,561
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   CoC GRANT 5022                                 $5,450,415
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Calabazas Apartments                             $741,016
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Leigh Ave                                        $610,091
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Renascent Place                                  $713,605
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   SCC Coordinated Assessment System                $138,644
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   SCC RRH for Families & Youth                   $2,919,238
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Samaritan Inns                                   $721,603
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   CASA 200                                       $1,392,162
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   SCC HMIS Consolidation                         $1,600,696
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   CCP Placement Project                          $7,741,946
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   CoC GRANT 5320                                   $543,830
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   2024 DV Bonus TH-RRH                             $599,781
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Ira D. Hall                                      $301,095
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   Alvarado Park                                    $124,633
California   CA-500   San Jose/Santa Clara City & County CoC   County of Santa Clara by and through Office of Supportive Housing   CoC GRANT 5022 Expansion                       $2,904,831
